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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
Vv. : MAGISTRATE NO. 1:21-MJ-00011
VIOLATIONS:
LONNIE LEROY COFFMAN,

26 U.S.C. §§ 5861(d), 5841, 5845(f) & 5871
(Possession of an Unregistered Firearm)

Defendant. : 22 D.C. Code § 4504(a)
: (Carrying a Pistol Without a License)

22 D.C. Code § 4504(a-1)
(Carrying a Rifle or Shotgun)

7 D.C. Code § 2506.01(b)
(Possession of a Large Capacity

Feeding Device)

7 D.C. Code § 2502.01 (a)
(Possession of an Unregistered Firearm)

7 D.C. Code § 2506.01(a)(3)
(Unlawful Possession of Ammunition)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN knowingly possessed a firearm, namely a destructive device, that is, eleven

Molotov cocktails and any combination of parts designed and intended for use in converting any
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device into a Molotov cocktail, not registered to him in the National Firearms Registration and
Transfer Record.

(Possession of an Unregistered Firearm, in violation of Title 26, United States Code, Sections
5861(d), 5841, 5845(f), and 5871)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did carry, openly and concealed on or about his person, in a place other than
his dwelling place, place of business or on other land possessed by him, a pistol, namely, a 9mm
Smith & Wesson handgun, without a license issued pursuant to law.

(Carrying a Pistol Without a License (Outside Home or Place of Business), in violation of 22
D.C. Code § 4504(a) (2001 ed.))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did carry, openly and concealed on or about his person, in a place other than
his dwelling place, place of business or on other land possessed by him, a pistol, namely, a .22
caliber North American Arms revolver, without a license issued pursuant to law.

(Carrying a Pistol Without a License (Outside Home or Place of Business), in violation of 22
D.C. Code § 4504(a) (2001 ed.))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did carry, openly and concealed on or about his person, in a place other than
his dwelling place, place of business or on other land possessed by him, a pistol, namely, a 9mm
Hi-Point handgun, without a license issued pursuant to law.

(Carrying a Pistol Without a License (Outside Home or Place of Business), in violation of 22
D.C. Code § 4504(a) (2001 ed.))
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COUNT FIVE

On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did carry, openly and concealed on or about his person, in a place other than
his dwelling place, place of business or on other land possessed by him, a Windham Weaponry
rifle.

(Carrying a Rifle or Shotgun (Outside Home or Place of Business), in violation of 22 D.C.
Code § 4504(a-1) (2001 ed.))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did carry, openly and concealed on or about his person, in a place other than
his dwelling place, place of business or on other land possessed by him, a Hatfield Gun Company
SAS shotgun.

(Carrying a Rifle or Shotgun (Outside Home or Place of Business), in violation of 22 D.C.
Code § 4504(a-1) (2001 ed.))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess a large capacity ammunition feeding device.

(Possession of a Large Capacity Ammunition Feeding Device), in violation of 7 D.C. Code §
2506.01(b) (2001 ed.))
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COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess a certain firearm, a 9mm Smith & Wesson handgun, without
being the holder of a valid registration certificate.

(Possession of an Unregistered Firearm), in violation of 7 D.C. Code § 2502.01(a) (2001 ed.))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess a certain firearm, a .22 caliber North American Arms revolver,
without being the holder of a valid registration certificate.

(Possession of an Unregistered Firearm), in violation of 7 D.C. Code § 2502.01(a) (2001 ed.))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess a certain firearm, a 9mm Hi-Point handgun, without being the
holder of a valid registration certificate.

(Possession of an Unregistered Firearm), in violation of 7 D.C. Code § 2502.01(a) (2001 ed.))

COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess a certain firearm, a Windham Weaponry rifle, without being the
holder of a valid registration certificate.

(Possession of an Unregistered Firearm), in violation of 7 D.C. Code § 2502.01(a) (2001 ed.))
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COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess a certain firearm, a Hatfield Gun Company SAS shotgun, without
being the holder of a valid registration certificate.
(Possession of an Unregistered Firearm), in violation of 7 D.C. Code § 2502.01(a) (2001 ed.))
COUNT THIRTEEN
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess certain ammunition, .22 caliber rounds, without being the holder
of a valid registration certificate for a firearm.
(Unlawful Possession of Ammunition), in violation of 7 D.C. Code § 2506.01(a)(3) (2001 ed.))
COUNT FOURTEEN
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess certain ammunition, 9mm rounds, without being the holder of a
valid registration certificate for a firearm.
(Unlawful Possession of Ammunition), in violation of 7 D.C. Code § 2506.01(a)(3) (2001 ed.))
COUNT FIFTEEN
On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess certain ammunition, 5.56 x 45mm rounds, without being the
holder of a valid registration certificate for a firearm.

(Unlawful Possession of Ammunition), in violation of 7 D.C. Code § 2506.01(a)(3) (2001 ed.))
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COUNT SIXTEEN

On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess certain ammunition, .223 caliber rounds, without being the holder
of a valid registration certificate for a firearm.
(Unlawful Possession of Ammunition), in violation of 7 D.C. Code § 2506.01(a)(3) (2001 ed.))

COUNT SEVENTEEN

On or about January 6, 2021, within the District of Columbia, the defendant LONNIE
LEROY COFFMAN did possess certain ammunition, shotgun shells, without being the holder of
a valid registration certificate for a firearm.

(Unlawful Possession of Ammunition), in violation of 7 D.C. Code § 2506.01(a)(3) (2001 ed.))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia
